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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              OWENSBORO DIVISION
                     CIVIL ACTION NUMBER 4:14-CV-00046-JHM

   KEVIN LEE PERRY, Individually, and as Administrator                     PLAINTIFFS
   of the Estate of MADONNA G. PERRY, Deceased
   N.P., minor, by his father and next friend, KEVIN PERRY; and
   ANDREA SMITH BUTLER

   vs.

   OWENSBORO HEALTH, INC. f/k/a
   OWENSBORO MEDICAL HEALTH SYSTEM, INC.                                   DEFENDANT
       .

                                 NOTICE OF REMOVAL

          Defendant, Owensboro Health, Inc. f/k/a Owensboro Medical Health

   System, for its notice of removal of this action, states as follows:

          1. In this Notice of Removal, Defendant, Owensboro Health, Inc.,

   (“Defendant”) exercises its rights under the provisions of 28 U.S.C. §1441 and

   §1446 to remove this action from the Circuit Court of Daviess County, Kentucky,

   to this Court.

          2.    In their Third Amended complaint, Plaintiffs have alleged that

   Defendants violated 42 U.S.C. §1395, the “Emergency Medical Treatment and

   Active Labor Act” (EMTALA). These allegations raise a federal question which

   gives this Court original jurisdiction pursuant to 28 U.S.C §1441(a).

          3. Plaintiff originally commenced this action on October 28, 2010 by filing

   a Complaint in the Circuit Court of Daviess County, Kentucky alleging negligence

   on the part of Defendant. Additionally, Plaintiff alleged negligence on the parts of

   Charles F. Hobelmann, III, MD, David A. Dwyer, MD, Emergency Physician
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   Groups, PSC; Thomas E. Sonnanstine, IV, MD, and Central Kentucky Advanced

   Surgery & Medicine, PSC. All Defendants Answered the Complaint and

   discovery commenced. A mediation was held on January 3, 2014 and all parties

   settled their claims, except Defendant. Plaintiff then moved for leave to Amend

   their Complaint to allege violations of EMTALA and the Motion was granted on

   April 2, 2014 and the Complaint was deemed as filed at that time. Therefore,

   because Defendant filed its Notice of Removal within thirty (30) days of service,

   this Notice of Removal is timely under 28 U.S.C. §1446.

          4. Pursuant to the provisions of 28 U.S.C. §1446, Defendant has attached

   copies of the Daviess Circuit Court Order granting Plaintiff’s Motion for Leave to

   file their Third Amended Complaint, Plaintiffs’ Third Amended Complaint and

   Defendant’s Answer to Plaintiffs’ Third Amended Complaint.

          5.     Additionally, Defendant attaches copies of Plaintiff’s Original

   Complaint and Defendant’s Answer; Plaintiff’s First Amended Complaint, and

   Defendant’s Answer; Defendant’s Partial Stipulation of Dismissal; and multiple

   Agreed Scheduling Orders.        Defendant reserves the right to amend and

   supplement this information as necessary or required by this Court.

          6. Written notice of the filing of this Notice of Removal will be given to

   Plaintiff as required by law.

          7. This action is not an action described in 28 U.S.C. §1445.

          8. A true copy of this Notice of Removal will be filed with the Clerk for the

   Circuit Court of Daviess County, Kentucky as required by law.
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         9. By filing this Notice of Removal, Defendant does not waive any defense

   based upon lack of personal jurisdiction, statute of limitation or improper venue or

   any other defense.

         WHEREFORE, Defendant respectfully requests that this action be

   removed to this Court and placed on its docket for further proceedings.

         This April 29, 2014.

                                     Respectfully submitted,

                                     SHEFFER LAW FIRM, PLLC

                                     _/s/ William K. Burnham, Esq.
                                     Ronald G. Sheffer, Esq.
                                     William K. Burnham, Esq.
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                                     ATTORNEYS FOR DEFENDANT, OMHS
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                              CERTIFICATE OF SERVICE

   I certify that a true and accurate copy of the foregoing was delivered via first-
   class U.S. Mail, postage pre-paid, to all of the individuals on the following service
   list on this April 29, 2014.



                                             _/s/ William K. Burnham, Esq._______
                                             Ronald G. Sheffer
                                             William K. Burnham

   SERVICE LIST:

   Travis L. Holtrey, Esq.
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